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                 SOLICITAÇÃO
 PARA CITAÇÃO, INTIMAÇÃO OU NOTIFICAÇÃO NO
  ESTRANGEIRO DE DOCUMENTOS JUDICIAIS OU
               EXTRAJUDICIAIS
                       REQUEST FOR SERVICE ABROAD OF JUDICIAL OR EXTRAJUDICIAL DOCUMENTS
                        DEMANDE AUX FINS DE SIGNIFICATION OU DE NOTIFICATION A L’ÉTRANGER
                                     D’UN ACTE JUDICIAIRE OU EXTRAJUDICIAIRE

Convenção Relativa à Citação, Intimação e Notificação no Estrangeiro de Documentos Judiciais e
                           Extrajudiciais em Matéria Civil e Comercial,
                         firmada na Haia, em 15 de novembro de 1965.
Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, signed at The Hague, the 15th of November 1965.
                      Convention relative à la signification et à la notification à l’étranger des actes judiciaires ou extrajudiciaires en
                                      matière civile ou commerciale, signée à La Haye le 15 novembre 1965.

 Identificação e endereço do requerente                                                  Endereço da autoridade receptora
 Identity and address of the applicant                                                   Address of receiving authority
 Identité et adresse du requérant                                                        Adresse de l’autorité destinataire




O requerente abaixo assinado tem a honra de transmitir – em duas vias – os
documentos relacionados abaixo e solicita a pronta citação, intimação ou notificação de
uma cópia dos referidos documentos ao destinatário, conforme previsto no artigo 5º da
supracitada Convenção, a saber:
The undersigned applicant has the honour to transmit – in duplicate – the documents listed below and, in conformity with Article 5 of the above-mentioned
Convention, requests prompt service of one copy thereof on the addressee, i.e.:
Le requérant soussigné a l’honneur de faire parvenir – en double exemplaire – à l’autorité destinataire les documents ci-dessous énumérés, en la priant,
conformément à l’article 5 de la Convention précitée, d’en faire remettre sans retard un exemplaire au destinataire, à savoir :

 (Identificação e endereço)
 (identity and address) / (identité et adresse)




                a)       conforme previsto na alínea “a” do primeiro parágrafo do Artigo 5º da Convenção*
                         in accordance with the provisions of sub-paragraph a) of the first paragraph of Article 5 of the Convention*
                         selon les formes légales (article 5, alinéa premier, lettre a)*
                b)       De acordo com a seguinte forma específica (alínea “b” do primeiro parágrafo do
                         Artigo 5º)*
                         in accordance with the following particular method (sub-paragraph b) of the first paragraph of Article 5)*:
                         selon la forme particulière suivante (article 5, alinéa premier, lettre b)* :




                c)       Pela entrega ao destinatário que voluntariamente a aceitar (segundo parágrafo do
                         Artigo 5º)*
                         by delivery to the addressee, if he accepts it voluntarily (second paragraph of Article 5) *
                         le cas échéant, par remise simple (article 5, alinéa 2) *

Solicita-se que a autoridade devolva ou faça devolver uma cópia dos documentos – e dos
anexos* – ao requerente, juntamente com um certificado, conforme aqui anexado.
The authority is requested to return or to have returned to the applicant a copy of the documents - and of the annexes* - with the attached certificate
Cette autorité est priée de renvoyer ou de faire renvoyer au requérant un exemplaire de l’acte - et de ses annexes*- avec l’attestation ci-jointe.

Relação dos documentos
List of documents / Énumération des pièces




* Quando cabível
  if appropriate / s’il y a lieu


 Feito em                                                                                Assinatura e/ou Carimbo
 Done at / Fait à                                                                        Signature and/or stamp / Signature et / ou cachet
 em
 the / le




                                                                               EXHIBIT 1
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                                                                   CERTIFICADO
                                                                             CERTIFICATE
                                                                             ATTESTATION


De acordo com o artigo 6º da Convenção, a autoridade abaixo assinada tem a honra de atestar,
The undersigned authority has the honour to certify, in conformity with Article 6 of the Convention,
L’autorité soussignée a l’honneur d’attester conformément à l’article 6 de ladite Convention,

         1. que a citação, intimação ou notificação ocorreu*
              that the document has been served *
              que la demande a été exécutée*


      – em (data):
           the (date) / le (date) :
      – em (local, rua, número):
           at (place, street, number) / à (localité, rue, numéro) :

      – numa das seguintes formas autorizadas pelo Artigo 5º:
           in one of the following methods authorised by Article 5:
           dans une des formes suivantes prévues à l’article 5 :
                a)        conforme previsto na alínea “a” do primeiro parágrafo do Artigo 5º da Convenção*
                          in accordance with the provisions of sub-paragraph a) of the first paragraph of Article 5 of the Convention*
                          selon les formes légales (article 5, alinéa premier, lettre a)*
                b)         de acordo com a seguinte forma específica*:
                           in accordance with the following particular method*:
                           selon la forme particulière suivante* :




                c)        pela entrega ao destinatário que voluntariamente a aceitou*
                          by delivery to the addressee, if he accepts it voluntarily*
                          par remise simple*

Os documentos mencionados na solicitação foram entregues a:
The documents referred to in the request have been delivered to:
Les documents mentionnés dans la demande ont été remis à :

 Identificação e descrição da pessoa:
 Identity and description of person :
 Identité et qualité de la personne :


 Relacionamento com o destinatário (parente,
 colega de trabalho ou outro):
 Relationship to the addressee (family, business or other):
 Liens de parenté, de subordination ou autres, avec le destinataire de
 l’acte :

         2. que a citação, intimação ou notificação não ocorreu, pelos seguintes motivos*:
              that the document has not been served, by reason of the following facts*:
              que la demande n’a pas été exécutée, en raison des faits suivants* :




         Conforme previsto no segundo parágrafo do Artigo 12 da Convenção, solicita-se que
         o requerente pague ou reembolse as despesas descritas na declaração anexa*.
         In conformity with the second paragraph of Article 12 of the Convention, the applicant is requested to pay or reimburse the expenses detailed
         in the attached statement*.
         Conformément à l’article 12, alinéa 2, de ladite Convention, le requérant est prié de payer ou de rembourser les frais dont le détail figure au mémoire ci-
         joint*.

Anexos
Annexes / Annexes

 Documentos devolvidos:
 Documents returned:
 Pièces renvoyées :
 Quando for o caso, documentos
 comprobatórios da citação, intimação ou
 notificação:
 In appropriate cases, documents establishing the service:
 Le cas échéant, les documents justificatifs de l’exécution :
* Excluir, se necessário
if appropriate / s’il y a lieu


 Feito em                                                                               Assinatura e/ou Carimbo
 Done at / Fait à                                                                       Signature and/or stamp / Signature et / ou cachet


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 the / le
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                                                                       AVISO
                                                                       WARNING
                                                                    AVERTISSEMENT


 Identidade e endereço do destinatário
 Identity and address of the addressee
 Identité et adresse du destinataire




                                                                     IMPORTANTE

O DOCUMENTO ANEXO É DE NATUREZA LEGAL E PODE AFETAR SEUS DIREITOS E
OBRIGAÇÕES. O “RESUMO DO DOCUMENTO OBJETO DA CITAÇÃO, INTIMAÇÃO OU
NOTIFICAÇÃO” LHE FORNECERÁ ALGUMAS INFORMAÇÕES SOBRE SUA NATUREZA
E FINALIDADE. A DOCUMENTAÇÃO EM SI MESMA, NO ENTANTO, DEVERÁ SER LIDA
CUIDADOSAMENTE. PODE VIR A SER NECESSÁRIO O AUXÍLIO DE UM ADVOGADO.

SE SUAS        CONDIÇÕES FINANCEIRAS          FOREM        INSUFICIENTES, VOCÊ
DEVERÁ PROCURAR INFORMAÇÕES SOBRE             A       POSSIBILIDADE         DE
OBTER ASSISTÊNCIA JURÍDICA OU APOIO JURÍDICO, SEJA NO PAÍS ONDE MORA OU NO
PAÍS ONDE OS DOCUMENTOS FORAM EMITIDOS.

DÚVIDAS SOBRE A DISPONIBILIDADE DE ASSISTÊNCIA JURÍDICA OU APOIO JURÍDICO NO
PAÍS ONDE O DOCUMENTO FOI EMITIDO PODEM SER DIRIGIDAS A:
                                                                          IMPORTANT

THE ENCLOSED DOCUMENT IS OF A LEGAL NATURE AND MAY AFFECT YOUR RIGHTS AND OBLIGATIONS. THE ‘SUMMARY OF THE
DOCUMENT TO BE SERVED’ WILL GIVE YOU SOME INFORMATION ABOUT ITS NATURE AND PURPOSE. YOU SHOULD HOWEVER READ THE
DOCUMENT ITSELF CAREFULLY. IT MAY BE NECESSARY TO SEEK LEGAL ADVICE.

IF YOUR FINANCIAL RESOURCES ARE INSUFFICIENT YOU SHOULD SEEK INFORMATION ON THE POSSIBILITY OF OBTAINING LEGAL AID OR
ADVICE EITHER IN THE COUNTRY WHERE YOU LIVE OR IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED.

ENQUIRIES ABOUT THE AVAILABILITY OF LEGAL AID OR ADVICE IN THE COUNTRY WHERE THE DOCUMENT WAS ISSUED MAY BE DIRECTED
TO:

                                                                       TRÈS IMPORTANT

LE DOCUMENT CI-JOINT EST DE NATURE JURIDIQUE ET PEUT AFFECTER VOS DROITS ET OBLIGATIONS. LES « ÉLÉMENTS ESSENTIELS DE
L’ACTE » VOUS DONNENT QUELQUES INFORMATIONS SUR SA NATURE ET SON OBJET. IL EST TOUTEFOIS INDISPENSABLE DE LIRE
ATTENTIVEMENT LE TEXTE MÊME DU DOCUMENT. IL PEUT ÊTRE NÉCESSAIRE DE DEMANDER UN AVIS JURIDIQUE.

SI VOS RESSOURCES SONT INSUFFISANTES, RENSEIGNEZ-VOUS SUR LA POSSIBILITÉ D’OBTENIR L’ASSISTANCE JUDICIAIRE ET LA
CONSULTATION JURIDIQUE SOIT DANS VOTRE PAYS SOIT DANS LE PAYS D’ORIGINE DU DOCUMENT.

LES DEMANDES DE RENSEIGNEMENTS SUR LES POSSIBILITÉS D’OBTENIR L’ASSISTANCE JUDICIAIRE OU LA CONSULTATION JURIDIQUE
DANS LE PAYS D’ORIGINE DU DOCUMENT PEUVENT ÊTRE ADRESSÉES À :




É recomendado que os termos padrão deste aviso sejam escritos em inglês e francês e, quando
necessário, também na língua oficial, ou numa das línguas oficiais do Estado de origem
do documento. As lacunas podem ser preenchidas tanto no idioma do Estado para onde
o documento será enviado, quanto em inglês ou francês.
It is recommended that the standard terms in the notice be written in English and French and where appropriate also in the official language, or in one of the
official languages of the State in which the document originated. The blanks could be completed either in the language of the State to which the document is
to be sent, or in English or French.

Il est recommandé que les mentions imprimées dans cette note soient rédigées en langue française et en langue anglaise et le cas échéant, en outre, dans
la langue ou l’une des langues officielles de l’État d’origine de l’acte. Les blancs pourraient être remplis soit dans la langue de l’État où le document doit être
adressé, soit en langue française, soit en langue anglaise.
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        RESUMO DO DOCUMENTO OBJETO DA CITAÇÃO,
              INTIMAÇÃO OU NOTIFICAÇÃO
                                                   SUMMARY OF THE DOCUMENT TO BE SERVED
                                                       ÉLÉMENTS ESSENTIELS DE L’ACTE

Convenção Relativa à Citação, Intimação e Notificação no Estrangeiro de Documentos Judiciais e
                           Extrajudiciais em Matéria Civil e Comercial,
         assinada na Haia em 15 de novembro de 1965 (quarto parágrafo do Artigo 5º)
 Convention on the Service Abroad of Judicial and Extrajudicial Documents in Civil or Commercial Matters, signed at The Hague, the 15th of November 1965
                                                               (Article 5, fourth paragraph).
                       Convention relative à la signification et à la notification à l’étranger des actes judiciaires ou extrajudiciaires en
                              matière civile ou commerciale, signée à La Haye le 15 novembre 1965 (article 5, alinéa 4).

  Nome e endereço da autoridade solicitante:
  Name and address of the requesting authority:
  Nom et adresse de l’autorité requérante :




  Identidade das partes*:
  Particulars of the parties*:
  Identité des parties* :




   * Se necessário, a identidade e endereço da pessoa interessada na transmissão do documento
     if appropriate, identity and address of the person interested in the transmission of the document
     s’il y a lieu, identité et adresse de la personne intéressée à la transmission de l’acte



        DOCUMENTO JUDICIAL**
        JUDICIAL DOCUMENT**
        ACTE JUDICIAIRE**

  Natureza e finalidade do documento:
  Nature and purpose of the document:
  Nature et objet de l’acte :



  Natureza e objeto do processo e, se for o
  caso, a importância em litígio:
  Nature and purpose of the proceedings and, when appropriate,
  the amount in dispute:
  Nature et objet de l’instance, le cas échéant, le montant du litige :
  Data e local do comparecimento**:
  Date and Place for entering appearance**:
  Date et lieu de la comparution** :


  Juízo que proferiu a sentença**:
  Court which has given judgment**:
  Juridiction qui a rendu la décision** :



  Data da sentença**:
  Date of judgment**:
  Date de la décision** :



  Prazos limite definidos no documento**:
  Time limits stated in the document**:
  Indication des délais figurant dans l’acte** :




   ** Quando cabível
     if appropriate / s’il y a lieu




        DOCUMENTO EXTRAJUDICIAL**
        EXTRAJUDICIAL DOCUMENT**
        ACTE EXTRAJUDICIAIRE**


  Natureza e finalidade do documento:
  Nature and purpose of the document:
  Nature et objet de l’acte :



  Prazos constantes do documento**:
  Time-limits stated in the document**:
  Indication des délais figurant dans l’acte** :



   ** Quando cabível
     if appropriate / s’il y a lieu
